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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

CHARLES BARKLEY, on behalf of himself          )   CASE NO. 5:18-CV-2377-SL
and all others similarly situated,             )
                                               )   JUDGE SARA ELIZABETH LIOI
                      Plaintiff,               )
                                               )   MOTION TO DISMISS WITHOUT
              v.                               )   PREJUDICE FOR FAILURE TO
                                               )   COOPERATE WITH SETTLEMENT
NATIONAL POLISHING SYSTEMS, INC.,              )
                                               )
                      Defendant.               )
                                               )

       NOW COMES Defendant National Polishing Systems, Inc., by and through its counsel,

and hereby moves to dismiss Barkley's case without prejudice because Barkley has failed to

cooperate and execute the settlement agreement reached by the parties. In support of its Motion,

Defendant states:

    • On December 13, 2018, the parties agreed on a settlement of this case.          Notice of
      Settlement, Docket #9.

    • On December 27, 2018, Defendant’s counsel forwarded the settlement papers (including
      a motion for court approval) to Barkley’s counsel for review and approval.

    • To date, there has been no objection to the settlement papers.

    • Upon information and belief, Barkley’s counsel attempted to reach Barkley numerous
      times since December 27, 2018 – without success or any return communication from
      Barkley.

    • On January 14, 2018, the parties filed a Joint Motion for 2 Week Extension to seek
      approval of the parties’ settlement agreement (Joint Motion for 2 Week Extension,
      Docket #11) to allow more time for Barkley to cooperate and respond.

    • Upon information and belief, Barkley’s counsel made further attempts to reach Barkley
      between January 14th – January 28th, 2019 – again without success or any return
      communication from Barkley.

    • Upon information and belief, Barkley is not cooperating with his own counsel and has
      not executed the proposed settlement agreement. Nor has he objected to the agreement.
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     • Upon information and belief, Barkley’s counsel intends to file a motion to withdraw as
       counsel.

        Because Barkley has failed to cooperate and execute the settlement agreement, has failed

to communicate with his own counsel and – by doing so – has wasted the Court’s and counsel’s

time and resources, Defendant asks the Court to dismiss Barkley’s case without prejudice.

                                     Respectfully submitted,



                                      /s/ Barry Y. Freeman
                                      Barry Y. Freeman (#0062040)
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                                      Attorney for Defendant



                                CERTIFICATE OF SERVICE

        A copy of the foregoing was served on all parties, via the Court’s electronic filing

system, this 28th day of January, 2019.

                                            /s/ Barry Y. Freeman



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